3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 1 of 14




                            Exhibit B
                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF SOUTH CAROLINA
                                        COLUMBIA DIVISION
                          CIVIL ACTION NO. 3:21-cv-03302-JMC-TJH-RMG


             THE SOUTH CAROLINA STATE                          )
             CONFERENCE OF THE NAACP,                          )
                                                               )
              and                                              )
                                                               )
              TAIWAN SCOTT, on behalf of                       )
              himself and all other similarly )
              situated persons,                                )   30(b)(6) DEPOSITION
                                        Plaintiffs,            )
                     v.                                        )                  OF
                                                               )
              HENRY D. MCMASTER, in his                        )          BRENDA MURPHY
              official capacity as Governor                    )
              of South Carolina; THOMAS C.                     )
              ALEXANDER, in his official                       )
              capacity as President of the                     )
              Senate; LUKE A. RANKIN, in his                   )
              official capacity as Chairman                    )
              of the Senate Judiciary                          )
              Committee; JAMES H. LUCAS, in                    )
              his official capacity as Speaker )
              of the House of Representatives; )
              CHRIS MURPHY, in his official                    )
              capacity as Chairman of the                      )
              House of Representatives                         )
              Judiciary Committee; WALLACE                     )
              H. JORDAN, in his official                       )
              capacity as Chairman of the                      )
              House of Representatives                         )
              Elections Law Subcommittee;                      )
              HOWARD KNAPP, in his official                    )
              capacity as interim Executive                    )
              Director of the South Carolina                   )
              State Election Commission; JOHN )
              WELLS, Chair, JOANNE DAY,                        )
              CLIFFORD J. EDLER, LINDA MCCALL, )
              and SCOTT MOSELEY,
3:21-cv-03302-MGL-TJH-RMG                 in their
                          Date Filed 04/29/22                  )
                                              Entry Number 248-2   Page 2 of 14
              official capacities as members                   )
              of the South Carolina Election                   )
              Commission,                                      )
                                                               )
                                        Defendants.            )
              _________________________________)
                    Pursuant to Rule 30 of the Federal Rules of Civil

            Procedure, the within 30(b)(6) deposition of Brenda Murphy,

            appearing via Zoom, was taken by Counsel for Defendants

            James H. Lucas, Chris Murphy, and Wallace H. Jordan, at the

            hour of 11:37 a.m. on Thursday, April 14, 2022, at the law

            offices of Nexsen Pruet, LLC, 1230 Main Street, Suite 700,

            Columbia, South Carolina, attended by counsel as follows:




                                                   JAN L. WHITWORTH
                                                  VERBATIM REPORTER




3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 3 of 14




                            WHITWORTH COURT REPORTING
                                              POST OFFICE BOX 551
                                             ROEBUCK, S.C. 29376
                                                  864-494-2705
                                                                                                12

      1                     Murphy?

      2             A.      1939.

      3             Q.      Okay.      And what is the official name of the State

      4                     Conference?           I think you’ve told me that before, but

      5                     I just want to get that clearly.

      6             A.      NAACP South Carolina State Conference of Branches.

      7             Q.      Okay.      And do you know how many branches are in your

      8                     conference, President Murphy?

      9             A.      Approximately 77.

     10             Q.      Okay.      And are those spread throughout the State of

     11                     South Carolina?

     12             A.      They are.

     13             Q.      And this may sound like a dumb question, and it

     14                     might be a dumb question.                    I take it you don’t have

     15                     any branches outside the State in your conference, -

     16                     ---

     17             A.      No.

     18             Q.      --- is that right?

     19             A.      None.

     20             Q.      Okay.      All right, do you have any employees?
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 4 of 14
     21             A.      Yes.

     22             Q.      Okay.      And how many employees do you have?

     23             A.      Three, part-time.

     24             Q.      Okay.      We are having ---

     25             A.      Part time.
                                                                                               13

      1             Q.      Okay.      We’re having some Zoom timing issues, but

      2                     that’s okay.            And who are those employees, President

      3                     Murphy?

      4             A.      I have an office manager and an assistant and one

      5                     clerical person.

      6             Q.      Okay.      So in discovery documents I have seen, I’ve

      7                     seen Amelia Glisson, Dr. Eloise Fomby-Denson and

      8                     Amber Brooks identified.                   Are those those three

      9                     people that you just ---

     10             A.      They’re -- they’re no longer here.

     11             Q.      Okay.      So none of those three are employed with you

     12                     anymore?

     13             A.      No.

     14             Q.      Okay.      What was Ms. Glisson’s role?

     15             A.      She was the office manager.

     16             Q.      Okay.      And who is the new office manager, if you

     17                     have one?

     18             A.      Lorrie, Lorrie Gregory.

     19             Q.      Lorrie Gregory?

     20             A.      That’s correct.
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 5 of 14
     21             Q.      Okay.      And so who is Dr. Eloise Fomby-Denson, and I

     22                     need to make sure I pronounce it correctly, who is

     23                     she?

     24             A.      She was just a temp for a very short period of time

     25                     until we could get another staff member in, which
                                                                                                      14

      1                     was Ms. Lorrie Gregory, the office manager.

      2             Q.      Okay.      So did anybody replace Ms. Fomby-Denson other

      3                     than Ms. Gregory?

      4             A.      No, no.

      5             Q.      And who was Amber Brooks?

      6             A.      Amber Brooks, she worked here a brief period of time

      7                     as well as the office manager, but then she was able

      8                     to find a full-time job, so she left.

      9             Q.      Okay.

     10             A.      It’s kind of difficult retaining employees when you

     11                     can only work them part-time with no benefits.

     12             Q.      Yes, ma’am, I understand that.                        So who are the other

     13                     two employees that are currently with you now as you

     14                     said part-time?

     15             A.      Priscilla Smith.

     16             Q.      And what does Ms. Smith do?

     17             A.      Primarily the bookkeeping needs for the office,

     18                     getting bills paid, getting checks out.                       That’s it

     19                     primarily.            Just administrative things that relates

     20                     to the billing and staying on top of things with
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 6 of 14
     21                     that in terms of when assessments come in, anything

     22                     --    any kind of payments come in.

     23             Q.      And who was the third person?

     24             A.      Shirley Able.

     25             Q.      And what does Ms. Able do?
                                                                                                   15

      1             A.      Primarily answering the phone, filing, making calls

      2                     that might need to be made.

      3             Q.      Okay.      And so there’s an email account -- so let me

      4                     go back to the folks who were in your office during

      5                     the time period that ran up to this litigation and

      6                     during the time period that these meeting minutes

      7                     that we’ve all discussed in previous depositions

      8                     were discussed, did Ms. Glisson, Dr. Fomby-Denson

      9                     and Amber Brooks each have an NAACP email address,

     10                     if you know?

     11             A.      I’m not sure.             I don’t think she did.          Now, Amber

     12                     did; she had an email address.

     13             Q.      And did Ms. Glisson ---

     14             A.      And.

     15             Q.      I’m sorry.

     16             A.      Ms. Glisson, she was -- she worked with us, yeah,

     17                     she was -- she did have an email address, yes.

     18             Q.      Okay.      Do you know if Ms. Glisson also used her

     19                     BellSouth email address for organizational purposes

     20                     when she worked for you?
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 7 of 14
     21             A.      Not to my knowledge.                 I’m not sure.

     22             Q.      And did Dr. Fomby-Denson use her gmail email address

     23                     for organizational purposes, if you know, during the

     24                     time period that she was employed?

     25             A.      The only -- she was the secretary for the coalition.
                                                                                                    16

      1             Q.      Yes, ma’am.

      2             A.      So she would have forwarded minutes out.

      3             Q.      Okay.      So, ---

      4             A.      Now, ---

      5             Q.      I’m sorry.

      6             A.      Glisson forwarded the Zoom links out.

      7             Q.      Okay.      So let me ask you this question, President

      8                     Murphy: there’s an email address called

      9                     scofficemanager@scncaap.org.                      Do you know who has

     10                     access to that account?

     11             A.      Lorrie Gregory.

     12             Q.      Okay.      And I take it that during the time period

     13                     that Amelia Glisson was your office manager, she had

     14                     access to that account, is that right?

     15             A.      Her email was aglisson@scnaacp.

     16             Q       Okay.      Do you know who would have had access to the

     17                     scofficemanager@scnaacp.org prior to Lorrie Gregory

     18                     coming on board with you?                    Do you know who would

     19                     have?      Like, did you have access to that, or did

     20                     anyone else, if you know?
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 8 of 14
     21             A.      I didn’t.         I’m not sure if Amelia had access to it

     22                     or not.

     23             Q.      Okay.      All right.           Does the State Conference have an

     24                     executive committee?

     25             A.      Have an executive list?
                                                                                                    17

      1             Q.      An executive committee?

      2             A.      Yes, we do.

      3             Q.      Okay.      All right, and what is the purpose of the

      4                     executive committee?

      5             A.      The executive committee is responsible for overall

      6                     planning for the State Conference, deciding, you

      7                     know, what the priorities will be for -- that we

      8                     need to address.

      9             Q.      Okay.      And how many members does the executive

     10                     committee have?

     11             A.      Oh, let’s see, maybe 26.                   I think you have a listing

     12                     in the packet that I received.

     13             Q.      Okay.

     14             A.      You have a listing.

     15             BY MR. MOORE:

     16                             So, why don’t we show them Exhibit Number 1,

     17                     which is SCNAACP_002837 Bates Number.                     And Michael

     18                     you’re going to need to blow that up for me as well

     19                     as for President Murphy, I imagine.

     20             BY PRESIDENT MURPHY:
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 9 of 14
     21                             Yes.

     22                     (WHEREUPON, HOUSE DEFENDANTS EXHIBIT 1 WAS MARKED

     23             FOR IDENTIFICATION PURPOSES, LIST OF EXECUTIVE COMMITTEE

     24             MEMBERS, ATTACHED.)

     25             EXAMINATION RESUMED BY MR. MOORE:
                                                                                                      40

       1                    Legislator driven, correct?

       2            A.      Some of it, and when you say Legislative driven, you

       3                    know, I can only speak in terms of the task force

       4                    and when they begin their hearings, how their

       5                    hearings were conducted.                    Not everybody has access

       6                    to Zoom, so there were some communities that didn’t

       7                    have opportunity to even provide input.                         So the

       8                    process, I guess when I do a comparison, I think the

       9                    process was not as well done as the Senate was.

     10             Q.      Okay.       But you sued the Senate too, right, in the

     11                     original complaint you sued the House, the Senate,

     12                     the Governor, and the Election Commission, right?

     13             A.      Yes, but the second was modified.                          We’re not talking

     14                     about Senate today, are we?

     15             Q.      No, ma’am, I wasn’t planning on it.                          But I’m talking

     16                     right now about the initial complaint, okay, because

     17                     I’m going to get to the amended complaint in a

     18                     moment, okay, but with the initial complaint, did

     19                     you review the complaint before it was filed, the

     20                     initial complaint?
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 10 of 14
     21             A.      Yes, I did.

     22             Q.      Okay.       Did the Executive Committee or Executive

     23                     Committee review the initial complaint before it was

     24                     filed?

     25             A.      Yes, they did.
                                                                                              41

       1            Q.      Okay.       And did they approve the filing of the suit?

       2            A.      They certainly did.

       3            Q.      Okay.       All right.           So then we have, you file your

       4                    initial complaint.                Redistricting occurs.

       5                    Legislation is passed, and then you filed an amended

       6                    complaint, which challenged the House Districts but

       7                    did not challenge the Senate Districts, is that

       8                    right?

       9            A.      The House in terms of timeliness, it’s more

     10                     critical, because the Senate is not, you know, that

     11                     election is not this year.

     12             Q.      I’m not asking about whether you do or don’t intend

     13                     to file something at some point with respect to the

     14                     Senate.         My point is that you filed a lawsuit in

     15                     December of this year that only challenged House

     16                     Districts, and then you subsequently moved to amend

     17                     it to add the Congressional Districts after those

     18                     were enacted, correct?

     19             A.      Yes.

     20             Q.      Okay.       All right, so in the amended complaint that
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 11 of 14
     21                     focused on the House Districts, there were a number

     22                     of House Districts which were challenged districts;

     23                     is that correct?

     24             A.      Yes.

     25             Q.      Okay.       And did you review that complaint before it
                                                                                                  86

       1                    drawings, the mapping, and sharing the maps even

       2                    though, you know, they had copies, but you know,

       3                    putting it on screen and screen sharing and getting

       4                    feedback regarding from the presidents.                    Because,

       5                    you know, if this -- this is a democracy.                    We wanted

       6                    everybody involved.                 Not we as a State Conference

       7                    could make decisions for the entire state.

       8            Q.      Okay.       But so, you know, and I guess a map has to

       9                    start somewhere, so please correct me if I’m wrong,

     10                     did you -- you mentioned that you circulated these

     11                     maps to your state presidents, is that right?

     12             A.      Yes.

     13             Q.      Did you circulate those maps to your state

     14                     presidents through email?

     15             A.      I think they may have been circulated by the

     16                     secretary or Ms. Glisson.

     17             Q.      Ms. Glisson?

     18             A.      Yes, sir, Amelia Glisson.

     19             Q.      Okay.

     20             A.      Her name I couldn’t remember.
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 12 of 14
     21             Q.      And do you know why the emails from Ms. Glisson

     22                     circulating these maps have not been provided to us

     23                     in discovery?

     24             A.      As I said before, I don’t know.

     25             Q.      Okay.
                                                                                            87

       1            A.      I do not know.

       2            Q.      Okay.       But you agree with me that emails from Ms.

       3                    Glisson should be emails that are under the control

       4                    and custody of your organization, correct?

       5            A.      Yes.

       6            Q.      Okay.       And so I take it you received -- you had to

       7                    receive the initial draft map from someone; is that

       8                    right, President Murphy?

       9            A.      Yes, and we have.                 Yes.

     10             Q.      Who did you receive the original draft maps from?

     11             A.      I may have -- primarily I think at least the mapping

     12                     I got from ACLU, because they were, you know, they

     13                     had the demographers and had people doing analytics.

     14                     So that’s where we -- that’s who we depended upon to

     15                     clarify information or questions that we may have

     16                     had.

     17             Q.      Okay.       And do you know if you received those maps on

     18                     your personal email account or on your SCNAACP email

     19                     account?

     20             A.      I don’t know.              I’ve gotten so many emails I don’t
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22    Entry Number 248-2   Page 13 of 14
     21                     even know where -- they have been at the office, I’m

     22                     not sure.             I know my emails from the office were

     23                     sent, and my emails were sent from -- my personal

     24                     emails were reviewed.                   So I can’t say.

     25             Q.      So, are you telling me you that you sometimes use
                                                                                                           88

       1                    your personal email account to conduct SCNAACP

       2                    business?

       3            A.      During the COVID, yes.

       4            Q.      Okay.       All right, and so ---

       5            A.      Our office was closed, sir.

       6            Q.      Yes, ma’am.            So I take it that means -- I mean, my

       7                    office was closed, too, but I can sort of remote in

       8                    and access my office email account.                            You might not

       9                    be able to do that, is that right?

     10             A.      Yes, I learned -- I’m going to do it from now on,

     11                     but I really don’t appreciate my personal email

     12                     being, you know -- but yes, I learned that I can do

     13                     it remotely now.               So, I will whenever I have to in

     14                     the future.

     15             Q.      I mean, I’m not the most technologically savvy

     16                     person in the world either, President Murphy.                            But

     17                     so, but luckily I have people who can help me make

     18                     sure that I don’t screw things up.                            So when did you

     19                     provide your personal -- access to your personal

     20                     email account to Mr. Pergament?                            Do you remember?
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 248-2   Page 14 of 14
     21             A.      Seems like maybe two weeks ago.

     22             Q.      Okay.

     23             A.      About two weeks ago.

     24             Q.      Okay.       Can you tell me why the emails that you

     25                     received from either on your gmail account or on
